                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA,

         Plaintiff,

         v.
                                                     Civ. No. 2:23-cv-735
 DENKA PERFORMANCE ELASTOMER,
 LLC,                                                Judge Barbier (Section: “J” (5))

         and                                         Magistrate Judge North

 DUPONT SPECIALTY PRODUCTS USA,
 LLC,
      Defendants.


                   UNITED STATES’ NOTICE OF SUBMISSION OF
                MOTION TO REOPEN CASE AND SET STATUS HEARING

        The United States of America (“United States”), by and through the undersigned

attorneys, hereby provides notice under Local Rule 7.2 that it has filed a motion to reopen this

case and set it for a status hearing.

        PLEASE TAKE NOTICE that this motion will be submitted to this Court on October 2,

2024 at 9:30 a.m. before the Honorable Carl J. Barbier, at the U.S. Courthouse, 500 Poydras

Street, Room C268, in New Orleans, Louisiana.




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Dated: September 17, 2024                Respectfully submitted,

                                         FOR THE UNITED STATES OF AMERICA

                                         TODD KIM
                                         Assistant Attorney General
                                         Environment and Natural Resources Division
                                         United States Department of Justice


                                           s/Steven D. Shermer               .
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